                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

 In re: William Barrier Roberts                 Case No.: 18-83442-CRJ-7
        SSN: xxx-xx-9314

              Debtor.                            Chapter 7
        _________________________


 Tazewell T. Shepard,
 as Trustee for the Chapter 7 Bankruptcy
 Estate of William Barrier Roberts

              Plaintiff,

 v.
                                                 Adversary Proceeding No.:_________
 Roscoe Owen Roberts,
 in his capacity as personal representative
 of William Barrier Roberts, deceased.

              Defendant.


                        TRUSTEE’S COMPLAINT FOR DENIAL
                      OF THE DEBTOR’S CHAPTER 7 DISCHARGE

       COMES NOW Tazewell T. Shepard III, trustee of the bankruptcy estate of the above-
captioned Chapter 7 debtor, and pursuant to Rule 7003 of the Federal Rules of Bankruptcy
Procedure, shows unto this Honorable Court as follows:

                                           Background

       1.      On November 16, 2018, William Barrier Roberts (the “Debtor”) filed a petition
under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Northern District of Alabama, Northern
Division (the “Bankruptcy Court”).

       2.      This case voluntarily converted to Chapter 7 on June 22, 2020. Thereafter, the
Bankruptcy Court appointed Tazewell T. Shepard III as the duly qualified and acting Chapter 7
trustee (the “Trustee”).




Case 21-80040-CRJ          Doc 1   Filed 03/21/21 Entered 03/21/21 17:20:43         Desc Main
                                   Document      Page 1 of 5
        3.     The Bankruptcy Court has subject matter jurisdiction over this instant adversary
proceeding pursuant to 28 U.S.C. § 1334 (the “AP”). This is a core proceeding pursuant to 28
U.S.C. § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Pertinent Facts

        A.     DEBTOR’S FAILURE TO DISCLOSE ASSETS DURING HIS CHAPTER 11 CASE.

        4.     During his Chapter 11 bankruptcy case, Debtor maintained a stock account with the
brokerage house Raymond James & Associates, Inc., account number *****796 (the “Account”).

        5.     Debtor did not declare the Account as an estate asset in his petition, his original
bankruptcy schedules, or his amended bankruptcy schedules, all of which were signed and attested
to as true and correct under penalty of perjury.

        6.      Debtor further attested to the accuracy of his filed schedules in his original and two
(2) amended Chapter 11 disclosure statements, all of which he filed between May 20, 2019 and
August 15, 2019.

        7.      Trustee has uncovered no evidence to suggest that the Debtor proactively and
voluntarily disclosed the Account or other hidden assets to the Bankruptcy Administrator or his
creditors.

        8.     Moreover, following a creditor’s discovery that Debtor received an undisclosed
inheritance, this Court entered an order on April 20, 2020 requiring as follows:




ECF Doc. 335.

        9.     In response to this Court’s order, Debtor filed a report on May 11, 2020 stating
simply: “On December 8, 2019, the Debtor’s father, Roscoe Roberts, passed away. The estimated
value of the Debtor’s distribution is $950,000.00, less lifetime advance of $450,000.00, which nets
$500,000.00.” [ECF Doc. 350].




Case 21-80040-CRJ         Doc 1    Filed 03/21/21 Entered 03/21/21 17:20:43              Desc Main
                                   Document      Page 2 of 5
        10.       Trustee avers that Debtor did not fully satisfy his statutory duties of disclosure, as
required by 11 U.S.C. §§ 521 & 541, and this Court’s further ordered disclosure.

        11.       Instead, during the spring of 2020, Debtor began transferring cash and securities to
his brother, Roscoe Owen Roberts (“Owen Roberts”), to hold in trust on Debtor’s behalf and for
Debtor’s benefit.

        B.        DEBTOR’S TRANSFER OF ASSETS TO THE TRUST.

        12.       Debtor’s children, Patricia T. Roberts and Lee Ann Grote Roberts (the “Debtor’s
Daughters”) created the Patricia T. Roberts and Lee Ann Grote Roberts Inter Vivos Trust (the
“Trust”) on March 6, 2020.

        13.       The Trust lists Debtor and the Debtor’s Daughters as its beneficiaries. Owen
Roberts serves as the Trust’s trustee.

        14.       Between March 6, 2020 and June 23, 2020, Debtor, or Owen Roberts acting on
Debtor’s behalf, transferred at least $692,652.10 in cash and securities from Debtor to the Trust’s
Raymond James & Associates, Inc. stock accounts (the “Trust’s Stock Accounts”).

        15.       Trustee avers that some of these transferred assets came from the Account. Other
assets transferred originated from life insurance proceeds and securities that Debtor inherited from
his deceased father during the pendency of Debtor’s Chapter 11 bankruptcy case.

        16.       To the best of Trustee’s knowledge, Owen Roberts remains in possession of all
Debtor-assets transferred to the Trust and the Trust’s Stock Accounts.


                                             COUNT ONE
                                          Denial of Discharge


        17.       The factual averments of the preceding paragraphs are incorporated as if restated
herein in full.

        18        In bankruptcy cases "…the importance of full and honest disclosure cannot be
overstated." Burns v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1286 (11th Cir. 2002).




Case 21-80040-CRJ           Doc 1     Filed 03/21/21 Entered 03/21/21 17:20:43             Desc Main
                                      Document      Page 3 of 5
        19.     The Debtor’s “duty to disclose is a continuing one that does not end once the forms
are submitted to the bankruptcy court; rather, a debtor must amend his financial statements if
circumstances change.” Id. (citing In re Coastal Plains, Inc., 179 F.3d 197, 208 (5th Cir. 1999)).

        20.     In this Federal Circuit, the caselaw law states, “[t]he intent to manipulate the
bankruptcy system occurred at the moment [a debtor] was under a duty to disclose [their] pending
claims but did not do so. Slater v. US Steel Corp., 820 F. 3d 1193, fn. 109 (11th Cir. 2016).

        A.      DEBTOR’S TRANSFER OF ASSETS DURING HIS CASE.

        21.     Section 727(a)(2)(B) of the Bankruptcy Code provides in pertinent part: “The court
shall grant the debtor a discharge unless the debtor, with intent to hinder, delay or defraud a
creditor. . . has transferred… or concealed. . . or has permitted to be transferred… or concealed…
property of the estate, after the date of the filing of the petition.”

        22.     During his Chapter 11 case, Debtor, with the intent to hinder, delay or defraud one
or more creditors, transferred and concealed bankruptcy estate property.

        23.     During his Chapter 11 case, Debtor, with the intent to hinder, delay or defraud one
or more creditors, permitted Owen Roberts to transfer and conceal estate property.

        24.     Accordingly, pursuant to 11 U.S.C. § 727(a)(2)(B), Debtor and Debtor’s decedent
estate are not entitled to a Chapter 7 bankruptcy discharge.

        B.      DEBTOR’S FALSE STATEMENTS.

        25.     Section 727(a)(4)(A) of the Bankruptcy Code provides in applicable part that: “The
court shall grant a discharge unless the debtor knowingly and fraudulently, in or in connection
with the case, made a false oath or account.”

        26.      Debtor failed to disclose the Account in any of his numerous pleadings made under
penalty of perjury and filed with this Court.

        27.     Further, despite his ongoing duties of disclosure, Debtor failed to disclose his
receipt of an inheritance until a creditor discovered such information and brought it to the Court’s
attention.

        28.     Debtor knowingly and fraudulently, in or in connection with his underlying
bankruptcy case, made one or more false oaths or accounts.




Case 21-80040-CRJ          Doc 1     Filed 03/21/21 Entered 03/21/21 17:20:43          Desc Main
                                     Document      Page 4 of 5
       29.     Accordingly, pursuant to 11 U.S.C. § 727(a)(4)(A), Debtor and Debtor’s decedent
estate are not entitled to a Chapter 7 bankruptcy discharge.

       WHEREFORE, premises considered, the Trustee prays that this Honorable Court will enter
an Order:

       (i)     Denying Debtor and Debtor’s decedent estate a discharge in bankruptcy; and

       (ii)    Granting such further relief as the Court deems just and proper.

       Respectfully submitted this the 21st day of March, 2021.

                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard III
                                             Kevin M. Morris
                                             Tazewell T. Shepard IV
                                             Attorneys to Chapter 7 Trustee
                                             SPARKMAN, SHEPARD & MORRIS, P.C.
                                             P.O. Box 19045
                                             Huntsville, AL 35804
                                             (256) 512-9924
                                             ty@ssmattorneys.com




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this the 21 day of March, 2021 served the foregoing document
upon all addressees on Kevin D. Heard, Attorney for Owen Roberts, Owen Roberts, Personal
Representative for the Debtor, Deceased, 24 Lendon Park Dr. SE, Huntsville, AL 35802, Stuart
M. Maples, Attorney for William Barrier Roberts, Richard M. Blythe, Attorney for the Bankruptcy
Administrator, and all parties requesting notice, by electronic service through the Court's CM/ECF
system and/or by placing a copy of the same in the U. S. Mail, postage prepaid.

                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard IV




Case 21-80040-CRJ        Doc 1     Filed 03/21/21 Entered 03/21/21 17:20:43           Desc Main
                                   Document      Page 5 of 5
